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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
____________________________________
                                         )
JAMES RANDALL, and GRACIE                )
WHITE f/k/a GRACIE DORNEUS,              )
Individually and on behalf of a class of )         C.A. No. 3:18-CV-30143-MGM
persons similarly situated,              )
                                         )
       Plaintiffs,                       )
                                         )
v.                                       )
                                         )
ALLY FINANCIAL INC.,                     )
                                         )
       Defendant.                        )
___________________________________ )

  PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS SECOND
                        AMENDED COMPLAINT
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I.      INTRODUCTION

        Ally sent the Plaintiffs and other putative class members post-repossession notices that

violate Massachusetts law in the exact same way that Honda’s did in Williams v. American

Honda Finance Corp. The notices misstate the borrower’s deficiency liability because, contrary

to Massachusetts law, they tell borrowers that their liability will be based on the car’s sale

proceeds rather than its fair market value. According to the SJC and First Circuit, post-

repossession notices like Honda’s (and Ally’s) are “never sufficient” because they “plainly do

not provide the necessary express description” of how the deficiency is calculated. Williams v.

Am. Honda Fin. Corp., 479 Mass. 656, 668 (2018), Williams v. Am. Honda Fin. Corp., 907 F.3d

83, 87 (1st Cir. 2018).

        Williams is based on the plain language of the relevant statutes. It did not overrule earlier

precedent or conflict with other authority or established practice. Other creditors large and small

have for years used notices that comply with Williams’ reading of the statute’s plain language.

Ally did not It now asks this Court to excuse its non-compliance, claiming that the law should

not apply equally to it, because Williams announced new law that should not be applied

“retroactively.” The Court should reject Ally’s argument for multiple reasons.

        First, under well-settled Massachusetts law, statutory interpretations like Williams are

automatically applied both retroactively and prospectively. As the SJC has emphasized, an

interpretation of a statutory provision reflects the meaning of the statute since its enactment.

Because the Williams decision rested on statutory interpretation, no further retroactivity analysis

is necessary in this case.

        Second, the SJC already signaled that Williams applies retroactively. After the SJC issued

its decision, Honda sought re-hearing on the issue of retroactivity, asking that the SJC apply its

decision only prospectively. The SJC denied the re-hearing request. Moreover, ‘[w]when the SJC
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wishes to make a new common law rule merely prospective in effect, it says so.” State Mut. Life

Assur. Co. of Am. v. Lumbermens Mut. Cas. Co., 874 F. Supp. 451, 459 (D. Mass. 1995). The

fact that it did not do so in Williams confirms that its decision applies retroactively.

       Third, even under the three-part retroactivity analysis applied to actual changes in the

common law, the decision should be retroactive. The SJC’s decision is not a “new rule,” but is a

plain text reading of a long-existing statute that other lenders properly understood and applied in

their post-repossession notices; applying the ruling retroactively furthers the consumer protection

goals of the statute; and Ally has failed to identify any tangible inequities or hardships flowing

from application of Williams retroactively.

       Similarly unavailing is Ally’s claim that retroactive application of Williams would violate

its due process rights because the UCC is, it argues, unconstitutionally vague. 1 But, a void-for-

vagueness attack on a non-criminal statute requires demonstrating that the statute is so vague that

a person must guess at its meaning. Under First Circuit precedent, if the statute is susceptible of

the construction given by a court, it cannot fail under a void-for-vagueness analysis. Ally cannot

credibly claim that the statute was unconstitutionally vague when other lenders were sending

compliant notices well before Williams.

       Finally, Ally seeks dismissal of Mr. Randall’s, but not Ms. White’s, UCC claim on two

additional grounds. First, it claims that a choice-of-law provision in his sales agreement requires

application of Vermont law. But that provision, which applies only to “the contract,” is too

narrow under relevant case law to encompass statutory claims. Second, Ally argues that under

the UCC, it was not required to send a pre-sale notice because it did not sell yet Mr. Randall’s




1
 American Honda made this same argument. The First Circuit rejected it as waived. Williams,
907 F.3d at 87.

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vehicle. But, that argument is foreclosed by the SJC’s decision in Williams and the text of the

UCC, which require said notices before the disposition of collateral.

        Ally’s partial Motion To Dismiss and to strike class allegations should be denied in its

entirety.

II.     BACKGROUND

        On March 16, 2017, Mr. Randall entered into a retail installment sales agreement (the

“Agreement”) with Bennington Subaru for the purchase of a motor vehicle (the “Randall

Vehicle”). See ECF # 18-1, Randall Retail Installment Agreement. On the same day, Bennington

Subaru assigned the Agreement to Ally. Id. at p. 1. On October 26, 2017, Ally repossessed the

Randall Vehicle. Second Amended Complaint, ECF # 33 (“Compl.”), ¶ 9. Shortly thereafter, on

October 30, 2017, Ally sent Mr. Randall a notice (the “Randall Repossession Notice” and

together with the White Repossession Notice, the “Repossession Notices”) advising him of the

repossession and of its intent to sell the vehicle. See Compl., Exhibit A, Repossession Notice.

        On May 13, 2016, Ms. White entered into a loan agreement with Ally for the purchase of

a motor vehicle (the “White Vehicle”). Compl., ¶ 13. Ally repossessed the White Vehicle on or

around October 31, 2018. In November 2018, Ally sent Ms. White a notice (the “White

Repossession Notice”) advising her of the repossession and of its intent to sell the vehicle.

Compl., Exhibit B, the Repossession Notice. White’s Vehicle was sold on December 11, 2018.

III.    STANDARD OF REVIEW

        Fed. R. Civ. P. 8(a) requires that a complaint include a “short and plain statement of the

claim showing that the pleader is entitled to relief.” A motion to dismiss should be denied if a

plaintiff has shown a “plausible entitlement to relief.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

559 (2007). “Asking for plausible grounds does not impose a probability requirement at the

pleading stage; it simply calls for enough fact to raise a reasonable expectation that discovery


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will reveal evidence of [a cause of action].” Id. at 556.

IV.    ARGUMENT

       A.     A Post-Repossession Notice Must Inform The Consumer That Her Potential
       Deficiency Liability Is The Difference Between Her Loan Balance And The Fair
       Market Value Of Her Car; Ally’s Plainly Did Not

       The UCC “generally govern[s] defaults in secured transactions.” Williams, 479 Mass. at

668. After the repossession of collateral but before its sale, a lender must send the consumer a

written notice containing critical information regarding the process, including a “description of

any liability for a deficiency of the person to which the notification is sent.” UCC § 9-614(1).

Under the standard UCC provision, deficiencies are generally calculated using the proceeds of a

“commercially reasonable” sale. UCC § 9-615.

       But transactions governed by the Retail Installment Sales Act, like these here, are

governed by a different standard. With respect to repossessed cars, M.G.L. c. 255B, §§ 20B, 20A

(hereinafter, “RISA”) requires creditors to apply the fair market value of the vehicle when

calculating a deficiency, providing an additional protection for Massachusetts consumers. RISA

§ 20B(e)(1) (creditor entitled to deficiency, if any, “resulting from deducting the fair market

value of the collateral from the unpaid balance due”).

       RISA also makes clear how these two laws are to be read together: it “provides that the

Uniform Commercial Code applies ‘unless displaced by the provisions of [§ 20B] and [§ 20A].’”

Williams, 479 Mass. at 668, M.G.L. c. 255B, § 20B. RISA’s deficiency formula for auto loans

displaces the more general UCC formula. Auto lenders thus must use the fair market value when

calculating a deficiency after repossession; they cannot use the UCC sale proceeds. And in turn,

a notice sent under UCC, M.G.L. c. 106, § 9-614 must inform the debtor that any loan deficiency

will be based on the fair market value of the vehicle, and not just the amount that the creditor

receives from a sale. Williams, 479 Mass. at 668 (UCC notice must explain fair market value will


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be used to calculate deficiency).

       Williams confirmed that the words in RISA mean what they say: “We conclude that the

notice that is required by the Uniform Commercial Code is never sufficient where the deficiency

is not calculated based on the fair market value of the collateral and the notice fails to accurately

describe how the deficiency is calculated.” Id.

       Ally’s notices are “plainly insufficient,” because, like Honda’s, they described the

deficiency as based on the sale proceeds, not the fair market value. See Compl., Exhs. A, B. The

notices do not reflect any attempt to comply with RISA’s key protection against unfairly low

post-repossession credits, which has existed for decades. Instead they simply ignore it.

       B.      The Williams Decision, And RISA, Applies To Mr. Randall’s Notice

               1.     Because The Williams Decision Rests On Statutory Interpretation, It
               Is Retroactive By Default

       Under a long line of SJC authority, generally “changes in the common law brought about

by judicial decisions are given retroactive effect.” In re McIntire, 458 Mass. 257, 260 (2010)

(citation omitted) (emphasis added). But, “[w]here a decision does not announce new common-

law rules or rights but rather construes a statute, no analysis of retroactive or prospective effect

is required because at issue is the meaning of the statute since its enactment.” Id. at 261

(emphasis added).

       For example, in In re McIntire, the court considered whether to apply its decision in

Johnstone, 453 Mass. 544 (2009), retroactively. Id. at 260. In Johnstone the SJC held that in

discharge proceedings for sexually dangerous persons, the Commonwealth could not meet its

burden of proof if the two examiners required by the statute concluded that the petitioner was no

longer sexually dangerous, even though there was no such explicit requirement in the statute.

The SJC noted that “[t]he question in Johnstone was purely one of statutory interpretation” and



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“represent[ed] the first time [the SJC] considered [the question] directly and resolved it.” Id. at

261-62. But, “[t]he fact that the question had not been answered before […] does not mean that it

represented a ‘new’ interpretation.” Instead, the law “had the same meaning since the effective

date of the statute[].” Id. at 262. (citation omitted). Accordingly, the McIntire court refused to

limit Johnstone’s interpretation of the statute to only prospective application. Id.

        Similarly, in Shawmut Worcester County Bank v. Miller, 398 Mass. 273, 281 (1986), the

bank brought suit against guarantors to recover a deficiency after the sale of collateral. Id. at 274.

The SJC considered whether guarantors were “debtors” under the UCC and therefore had the

same rights to challenge the commercial reasonableness of the sale. Id. at 277. The court held

that they were. Id. The bank objected to retroactive application of a ruling in favor of the

guarantors, because of feared “disruptions in established commercial practice.” Id. at 281.

        The SJC disagreed, reasoning that: “There is nothing in the record to show any such

established commercial practice. More importantly, although this court has not previously dealt

with the issues raised here, we are not announcing common law rules but rather are construing

certain statutory provisions. Those provisions have had the same meaning since the effective date

of the statutes.” Id. (citations omitted, emphasis added). The SJC refused to limit its

interpretation as it did in Miller. 2



2
  See also Mouradian v. General Elec. Co., 23 Mass. App. Ct. 538, 542 n.3 (1987)
( “retroactivity analysis [wa]s unnecessary” because basis of holding was a statutory
interpretation because” [i]f an interpretative rule is merely an interpretation of a statute, and if
the meaning of the statute has been there from the time of its original enactment, then no
problem of a retroactive interpretative rule can arise, for either the interpretative rule expresses
the true meaning of the statute or it does not; if it does, then that is what the statute has always
meant and the rule has not changed the law....”) (quoting 1 Davis, Administrative Law Treatise §
5.09 (1958)); Carey v. Gatehouse Media Massachusetts I, Inc., 92 Mass. App. Ct. 801, 812–13
(2018) (rejecting request for relief from judgment due to purported change in governing law,
reasoning that “[t]he FAAAA has had the same meaning since the moment of its enactment in



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        As in each of these cases, Williams construed the meaning of statutory provisions that

have had the same meaning since their enactment; it did not announce new common law rules.

As such it applies retroactively. 3

        Ally’s motion largely sidesteps this binding authority. Yet even the cases it primarily

relies upon do not support limiting Williams.

        For example, in Am. Int’l Ins. Co. v. Robert Seuffer GMBH & Co. KG, 468 Mass. 109,

120 (2014), the court allowed retroactive application of an interpretation of Rule 12 that a party

who raises a lack of personal jurisdiction in an answer and then fails to pursue the defense may

be found to have waived it. Even though the decision would result in a possible waiver of a case-

altering defense, the court concluded that there was no reason to disturb the “presumptively

retroactive application of the interpretation” of the Rule. Id. at 298.

        Eaton v. FNMA, 462 Mass. 569 (2012), is similarly unhelpful. It involved a new

interpretation of the term “mortgagee” under the foreclosure statute. Id. at 588. The ruling

represented a change that threatened to “wreak havoc with the operation and integrity of the title




1994, even if that meaning was not declared in a binding manner for First Circuit and
Massachusetts purposes until the Schwann, Massachusetts Delivery Assn., and Chambers
decisions in 2016”).
3
  Ally refers to language quoted in Am. Int’l Ins. Co. v. Robert Seuffer GMBH & Co. KG, 468
Mass. 109, 120 (2014) from a footnote in Com. v. Dagley, 442 Mass. 713, 721, n. 10 (2004), that
said :”When announcing a new common-law rule, a new interpretation of a State statute, or a
new rule in the exercise of our superintendence power, there is no constitutional requirement that
the new rule or new interpretation be applied retroactively, and we are therefore free to
determine whether it should be applied only prospectively.” See Ally’s Memo., 6. But, as the
SJC explained in In re: McIntire: “The language at issue in the Dagley case was making the
point that, depending on whether a new rule announced in a case is constitutionally required,
principles of retroactivity operate differently, and the footnote sought to offer some illustrations
of instances where new rules are not constitutionally based. The Dagley case itself did not deal
with a statute; we take the reference to a ‘new interpretation of a State statute’ as an illustration
of a point, and nothing more.” 458 Mass. 257, at 262 n.7. Thus, the general rule remains
unchanged: an interpretation of a statute applies retroactively.

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recording and registration systems by calling into question the validity of any title that has a

foreclosure sale in the title chain.” Id. at 586. These “exceptional circumstances” justified

departing from the general rule that decisions apply retroactively. Dever v. Ward, 92 Mass. App.

Ct. 175 (2017). No such circumstances are even remotely suggested here, a case in which no

chains of title are implicated.

           Dellorusso v. PNC Bank, Case No. 1877-cv-01475, Mass. Super. Ct. (May 3, 2019)

which Ally relies on extensively is a non-precedential, unreported trial court ruling. In addition,

Dellorusso did not apply the above-cited SJC precedent regarding the retroactivity of statutory

interpretations; instead it applied the inapposite retroactivity test applicable to new common law

rules. 4

                  2.    The SJC Already Signaled That Its Decision In Williams Applies
                  Retroactively

           Following the SJC’s decision, in a petition for rehearing, the defendant in Williams

requested that the SJC do precisely what Ally now asks the Court to do: apply its ruling only

prospectively. See Exhibit A, Petition For Rehearing. Specifically, like Ally, Honda argued that:

(i) the rule is an “unquestionably novel” new rule, (ii) that retroactive application of the rule

would not further it, and (iii) that retroactive application would cause hardships and inequities

due to its reliance on the “safe harbor” provision of the UCC. Id.

           Faced with arguments that mirror Ally’s exactly, the SJC declined to limit its Williams

holding to prospective application. Exhibit B, Order Denying Petition For Rehearing. By

denying the Petition For Rehearing, the SJC signaled that its decision applied retroactively. 5

           Moreover, the Williams decision itself signifies the SJC’s intention that its decision apply


4
 The plaintiff in Dellorusso is appealing the decision.
5
 The Dellorusso court appears not to have considered this key point in reaching its decision,
another reason it should not be followed.

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retroactively. “When the SJC wishes to make a new common law rule merely prospective in

effect, it says so.” State Mut. Life Assur. Co. of Am. v. Lumbermens Mut. Cas. Co., 874 F. Supp.

451, 459 (D. Mass. 1995), citing Johnson Controls, Inc. v. Bowes, 381 Mass. 278, 282–83 & n. 4

(1980) (announcing that ruling only applied prospectively); Tamerlane Corp. v. Warwick Ins.

Co., 412 Mass. 486, 489 (1992) (same). Here, the SJC did not announce that Williams should be

applied as Ally suggests.

               3.     Even If A Further Retroactivity Analysis Were Necessary, The
               Williams Decision Would Apply Retroactively

       “Decisional law is generally applied ‘retroactively’ to past events.” Schrottman v.

Barnicle, 386 Mass. 627, 631 (1982) (citation omitted). The “retroactive application of

decisional law provides the necessary incentive to those aggrieved to press for change and

improvement in law, and is consistent with the institutional duty of courts to resolve disputes

brought before them.” Id.

       But, “in exceptional circumstances, when determining whether a new rule arising from

decisional law should apply [only] prospectively, [courts] look at three factors: (1) whether a

new principle has been established whose resolution was not clearly foreshadowed; (2) whether

retroactive application will further the rule; and (3) whether inequitable results, or injustice or

hardships, will be avoided by a holding of nonretroactivity.” Dever v. Ward, supra (citation and

internal quotations omitted) (emphasis added). Even were that test applicable here, all three

factors militate in favor of retroactive application.

                       a.     The Williams Decision Did Not Announce A “New Rule,” The
                       Decision Was Entirely Foreseeable, And In Fact It Was Foreseen

       The threshold retroactivity question is “whether the opinion announced a ‘new rule.’”

Com. v. Ennis, 398 Mass. 170, 173 (1986). To be considered “new,” a rule “must establish a new

principle of law, either by overruling clear past precedent on which litigants may have relied ...


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or by deciding an issue of first impression whose resolution was not clearly foreshadowed....” Id.

(citations omitted). “For a decision to be applied only prospectively, it must represent ‘a clear

break with the past’ and a question of nonretroactive application of a decision is not presented

unless it ‘constitute[s] a sharp break in the line of earlier authority or an avulsive change which

causes the current of the law thereafter to flow between new banks.’” Id. (citation omitted).

       Here, Williams did not establish a “new” rule. Prior to the SJC’s decision, there was only

one decision that addressed the precise question before the SJC – the Williams lower court

decision, which was immediately appealed (before Mr. White’s notice was sent). There were no

Superior Court or Appeals Court decisions addressing the issue before the SJC did so. And,

simply because the SJC addressed the issue for the first time does not make the ruling in

Williams “new.” See In re McIntire, supra, at 262 (“[t]he fact that the question had not been

answered before […] does not mean that it represented a ‘new’ interpretation”).

       There was no body of decisional law or other authority on which Ally could have relied

to its detriment. Ally’s suggestion that the “safe harbor” form notice authorized it to ignore

Massachusetts law and send notices that misstated borrowers’ rights is misplaced. Official

Comment 3 to UCC § 9-614 provides that a “safe-harbor” form notice is sufficient only if it is

“properly completed.” Ally’s was not. And RISA’s express provisions explain to Ally and others

how the UCC and RISA must work together. Simply ignoring an entire statute is not

“follow[ing] in good faith a different interpretation.” Eaton, 462 Mass. at 588.

       Nor can Ally claim that it could not have anticipated the ruling. The Williams decision is

not complex: it is the logical result of comparing RISA’s plain text (which displaces all contrary

provisions in the UCC) and the UCC’s express pre-sale notice requirements (which contain

provisions that are contrary to RISA). The SJC dispensed with the entire question in a few




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paragraphs. Ally—one of the nation’s largest auto lenders with no doubt a strong team of

experienced legal counsel—cannot credibly contend that it was blindsided. And it offers no

evidence to support such a claim.

       Moreover, numerous other lenders read the UCC the same way as Williams, as they used

compliant post-repossession or post-sale notices before the SJC’s June 2018 decision with

accurate deficiency calculations. This included other major lenders like JP Morgan Chase, WFS

Financial and Exeter Finance and smaller lenders like Rockland Federal Credit Union. See

Exhibit C, JP Morgan Chase, Repossession Notice, June 9, 2017 (“[s]tate law requires we apply

the greater of actual sales proceeds and the Vehicle’s fair market value to reduce (or cancel in

some cases) your obligation”); Exhibit D, Rockland Federal Credit Union, Repossession Notice,

Feb. 6, 2018 (“should the collateral be sold by the Rockland Federal Credit Union, you may be

held liable for the payment of any unpaid balance plus repossession and storage costs (after

applying the fair market value of the collateral to your loan balance”); see also Exhibit E, Exeter

Finance, Post-Sale Notice, Jan. 27, 2017 (deficiency calculated by subtracting the “[h]igher of

(a) gross proceeds from the sale of the Vehicle or (b) fair market value of Vehicle” from net

balance due); Exhibit F, WFS Financial, Repossession Notice, Feb. 13, 2007 (“we may proceed

against you for any deficiency balance that may exist after applying the fair market value of the

vehicle”); Exhibit G, Wells Fargo, Repossession Notice, Oct. 26, 2016 (same); see also Exhibit

H, Brookline Bank, Post-Sale Notice, Feb. 4, 2010 (applying fair market value in calculating

deficiency).

       Given that the SJC did not announce a “new” rule, any retroactivity analysis ends there.

But, even if it did, the rule was foreseeable, as evidenced by other lenders’ compliance.




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                       b.    Retroactive Application Of The Williams Decision Will
                       Further The Statutory Purposes

       “[Sections] 9-614 and 9-616 continue the expansion of consumer oriented rules in the

Code. [...] The thrust of these uniform provisions is to advance the notion of communications to

the debtor, which are informative and helpful, as well as consumer friendly, in consumer

dispositions.” See Herbert Lemelman, Massachusetts Practice Series: Manual on Uniform

Commercial Code, 25A Mass. Prac. § 9:136 (3d ed.).

       The upshot of Williams is a confirmation that a lender’s notice sent under UCC § 9-614

must inform the debtor that the deficiency will be calculated based on the fair market value of

the vehicle and not what a lender may fetch for it at a dealer auction or other sale. Contrary to the

Dellorusso court’s unsupported suggestion that this information is not important, this is vital

information for a debtor weighing her options after a repossession, as gauging the size of the

potential amount of post-repossession debt is key for deciding whether to redeem or surrender a

vehicle. Therefore, applying the Williams decision retroactively and holding lenders accountable

furthers the consumer protections contained in the UCC.

                       c.    No Inequities Would Result From Retroactive Application Of
                       The Holding

       In its motion, Ally fails to identify a single, tangible inequity or hardship that would flow

from applying Williams to its notices. Instead, Ally claims that it would be inequitable to apply

Williams retroactively because, at the time it sent the Plaintiffs their notices, Ally was “rel[ying]

on existing precedent to insulate [itself] from liability.” Ally Memo., 7-8. Specifically, Ally

identifies the Williams’ trial court’s February 2016 decision as the “only precedent available”

when it issued the Plaintiffs’ notices. Id. But at the time it sent Randall’s notice, Williams was on

appeal and questions had been certified to the SJC. At the time it sent White’s notice, Williams

had been decided by the SJC.


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        Next, Ally claims that Williams should not apply retroactively because it “affects

property rights.” Ally Memo., 7-8. This argument, which relies on Eaton v. FNMA, 462 Mass.

569 discussed above, is factually and legally wrong. In Eaton, the SJC’s change to the

interpretation of the term “mortgagee” under a Massachusetts statute meant that a mortgagee

must hold both the mortgage and the note in order to effectuate a foreclosure. Id. at 588. Prior to

its decision, lenders and attorneys had relied on an interpretation of “mortgagee” that instead

“require[d] the mortgagee to hold only the mortgage, and not the note, in order to effect a valid

foreclosure by sale.” Id. at 588. The SJC was warned that, if applied retroactively, the decision

would “wreak havoc” on the title recording and registration systems. Id. at 586.

        The SJC noted in Eaton that “when [it] construe[s] a statute, [it] do[es] not engage in an

analysis whether that interpretation is given retroactive or prospective effect; the interpretation

[it] give[s] the statute usually reflects the court’s view of its meaning since the statute’s

enactment.” Id. at 587. But, acknowledging that retroactive application would upend the

Commonwealth’s entire property recording system, the SJC decided to apply its decision only

prospectively, citing the “significant difficulties in ascertaining the validity of a particular title if

the interpretation of ‘mortgagee’ that we adopt here is not limited to prospective operation,

because of the fact that our recording system has never required mortgage notes to be recorded.”

Id.

        The holding and reasoning from Eaton is not applicable here. Applying Williams

retroactively would not upend the entire auto-loan market by calling into question the validity of

any prior repossessions. Nor would it affect any dispositions of, or ownership interests in, any

vehicles. Instead, retroactive application of Williams would only further the purpose of the

statute by holding lenders accountable for misleading consumers on how the deficiency on their




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loan would be calculated. Eaton represents an extraordinary exception to the general rule that

statutory interpretations apply retroactively.

       C.    Ally’s Due Process Rights Are Not Implicated, As the UCC Is Not
       Unconstitutionally Vague

       Ally contends that the retroactive application of Williams would violate Ally’s due

process rights, because it argues the UCC is unconstitutionally vague. Ally is incorrect.

       Generally, “the void-for-vagueness doctrine requires that a penal statute define the

criminal offense with sufficient definiteness that ordinary people can understand what conduct is

prohibited and in a manner that does not encourage arbitrary and discriminatory enforcement.”

Kolender v. Lawson, 461 U.S. 352, 357 (1983). But, “economic regulation is subject to a less

strict vagueness test because its subject matter is often more narrow, and because businesses,

which face economic demands to plan behavior carefully, can be expected to consult relevant

legislation in advance of action.” Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455

U.S. 489, 498 (1982). “Indeed, the regulated enterprise may have the ability to clarify the

meaning of the regulation by its own inquiry, or by resort to an administrative process.” Id.

       Moreover, “[t]he mere fact that a statute or regulation requires interpretation does not

render it unconstitutionally vague.” United States v. Lachman, 387 F.3d 42, 56–57 (1st Cir.

2004). Many statutes require some interpretation. Rose v. Locke, 423 U.S. 48, 49–50 (1975).

Where a non-criminal statute is “reasonably susceptible to the construction” a court adopts, it is

not void for vagueness. Id. at 57.

       Here, there is no question that the UCC was “reasonably susceptible” to the construction

the SJC adopted in Williams. As detailed above, the Williams decision rests on a relatively

simple comparison between the RISA and the UCC. See, supra, pgs. 4-6. Moreover, other

lenders sent compliant notices before Williams was decided in June 2018. In short, given that the



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UCC was “reasonably susceptible to the construction” adopted by the SJC in Williams, its

application to this case does not violate Ally’s due process rights.

       D.      The Massachusetts Uniform Commercial Code Governs Randall’s Claim

               1.    The Choice of Law Provision In Randall’s Contract Does Not
               Preclude His UCC Claim

       Ally seeks dismissal of Plaintiff Randall’s claim on grounds that the Vermont choice of

law provision contained in his loan agreement applies to his UCC statutory claim. This argument

fails because the choice of law provision is too narrow to encompass statutory claims.

       In diversity cases, courts determine conflict of law issues by applying the law of the

forum state. See Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941). “A court […]

will follow a statutory directive of its own state on choice of law.” New England Tel. & Tel. Co.

v. Gourdeau Const. Co., Inc., 419 Mass. 658, 663 (1995) (citation omitted).

       The Massachusetts Appeals Court’s decision in Kitner v. CTW Transport, Inc. forecloses

Ally’s position. In Kitner, the plaintiff brought suit for breach of a conditional sales and security

contract, misrepresentation, and violation of M.G.L. c. 93A. 53 Mass. App. Ct. 741762 (2002).

The parties’ contract provided that North Dakota law “govern[ed] the identity, construction,

enforcement, and interpretation” of the contract. Id. at 745. On appeal, the defendant contended

that the trial court erred in applying Massachusetts law to its conduct because, read together, the

parties’ North Dakota choice-of-law provision and the UCC’s choice-of-law rules at M.G.L. c.

106, § 1-301 required application of North Dakota law. Id. at 745.

       The Appeals Court disagreed, holding that “[t]he language in the [parties’] contract as to

choice of law [wa]s expressly self-limiting,” and that “[t]he language d[id] not indicate that

North Dakota law would also cover tortious conduct or unfair acts inducing a breach of the

contract.” Id. at 746. Accordingly, because the plaintiff’s statutory claim under M.G.L. c. 93A



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did not sound in “entirely in contract,” the trial court correctly applied Massachusetts law. Id. at

746-47.

       The Kitner decision is in accord with numerous decisions from the SJC, First Circuit,

other Massachusetts courts, and other jurisdictions which have held that a narrow choice-of-law

provision applying a particular state’s laws to “the contract” or “the agreement” is not broad

enough to encompass statutory claims. See Melia v. Zenhire, Inc., 462 Mass. 164, 175 (2012)

(contract providing that “this agreement shall be governed and construed in accordance with the

laws of the State of New York” did not encompass statutory claims because it “ma[de] no

reference to statutory causes of action (emphasis added); Jacobson v. Mailboxes Etc. U.S.A.,

Inc., 646 N.E.2d 741, 746 n.9 (Mass. 1995) (where a contract “[did] not state that the rights of

the parties [we]re to be governed by California law but only that the agreement is to be governed

and construed by California law,” language did not encompass statutory claim under M.G.L. c.

93A); Vertex Surgical, Inc. v. Paradigm Biodevices, Inc., 390 F. App'x 1, 1-2 (1st Cir. 2010)

(choice of law provision providing that “Massachusetts law exclusively shall govern all terms of

this Agreement, including this paragraph” did not encompass statutory claims). 6




6
  See also Computer Sales Int'l, Inc. v. Lycos, Inc., No. 05–10017–RWZ, 2006 WL 1896192 (D.
Mass. July 11, 2006) (“Massachusetts courts have tended to interpret contractual choice-of-law
provisions more narrowly than other states' courts…”); Family Endowment Partners,
L.P. v Sutow, No. SUCV201501411BLS1, 2015 WL 9591316, at *4 (Mass. Sup. Ct. Nov. 16,
2015) (choice of law provision requiring application of Massachusetts law with respect to
“construing and enforcing the terms of the Agreement” did not encompass Pennsylvania
statutory claims, whereas broader language in arbitration clause that applied to “any dispute [or]
claim” that was “related to” the Agreement did); McDonald v. Wells Fargo Bank, N.A., 338 F.
Supp. 3d 458, 465 (W.D. Pa. 2018) (where parties signed financing agreement providing
“[f]ederal law and the law of the state of our address shown on the front of this contract [i.e.,
Ohio] apply to this contract,” choice of law provision did not encompass the plaintiff’s UCC
claims because the provision was too narrow to reflect an intent by the parties to apply Ohio law
to statutory claims”).



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         Here, Ally contends that the choice-of-law provision in Randall’s agreement—that

“Federal law and the law of the state of [the seller’s] address shown on the front of this contract

[i.e., Vermont] apply to this contract” 7—means that Vermont law applies to his statutory claim.

But, as Kitner and the other foregoing authority make clear, where a choice of law provision

applies to “this agreement” or “this contract,” it does not cover statutory claims.

         Ally’s reliance on this Court’s decision in Vision Graphics, Inc. v. E.I. Du Pont de

Nemours & Co. is misplaced. In Vision Graphics, the parties entered into agreements for the

purchase and lease of various computer systems subject to a choice of law provision that

indicated: “THIS AGREEMENT WILL BE GOVERNED BY AND CONSTRUED IN

ACCORDANCE WITH THE LAWS OF THE STATE OF DELAWARE.” 41 F. Supp. 2d 93,

97 (D. Mass. 1999). Consistent with Massachusetts law, this Court applied Delaware law to all

“contract-related” claims, including a claim under Delaware’s UCC for breach of the implied

warranty of merchantability. Id. at 97-100. That claim relied on an alleged breach of the seller’s

obligations under the parties’ contract by delivering defective products, and a related disclaimer

contained within the contract. Id. at 98.

         Ally leaps from this decision to contend that a narrow choice of law provision can stretch

to cover a statutory claim, and that the Court should do so here. Ally is half right – as the First

Circuit has ruled, a choice of law provision that applies solely to contractual claims can

encompass a statutory claim if the statutory claim is an “embroidered ‘breach of contract’

claim[].” Ne. Data Sys., Inc. v. McDonnell Douglas Computer Sys. Co., 986 F.2d 607, 609 (1st

Cir. 1993) (breach of implied covenant claims are breach of contract claims). But, that is an

exception that applies only when “contract violations” are “essential elements” of the statutory



7
    ECF # 1-2, p. 2, § 7 (emphasis added).

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claim. Id. Indeed, in Vision Graphics, after applying Delaware law to the contract-related claims,

this Court applied Massachusetts law to the plaintiff’s claim under Chapter 93A, as that claim

did not depend on contract violations. 41 F. Supp. 2d at 101.

       In this case, Mr. Randall’s UCC claim is not an “embroidered” breach of contract claim,

as it does not depend on any contractual term or breach. Instead, the claim arises exclusively

under the UCC’s post-repossession, pre-sale notice requirements. Thus, the choice of law

provision does not apply.

       Given the absence of a choice of law provision covering statutory claims, Massachusetts

choice of law rules dictate that the Court apply “the law of the state with the most significant

relationship to the transaction and the parties.” Sodexo Operations, LLC. v. Abbe, No. 19-11015-

RWZ, 2019 WL 2330464, at *2 (D. Mass. May 31, 2019) M.G.L. c. 106, § 1-301(a). 8 Here, the

focal point of the lawsuit is the legality of a post-repossession notice Ally sent to Mr. Randall.

Compl., ¶¶ 10-12. Massachusetts has a significant relationship to this dispute, as Mr. Randall is a

resident of Massachusetts, the repossession that led to the post-repossession notice process took

place in Massachusetts, and Ally sent the repossession notice to Randall’s Massachusetts

address. Compl., ¶ 1, Exh. A. On the other hand, Vermont’s entire relationship to this dispute is

Mr. Randall’s purchase of a vehicle from a car dealer in its state, a dealer who is not a party and

was not involved in the repossession. Mr. Randall’s claim bears no relationship to the sale by

that Vermont dealership – only to the post-repossession actions taken by Ally, which is

headquartered in Detroit, Michigan. Therefore, because Massachusetts has a more substantial

interest in the outcome of this dispute than does Vermont, Massachusetts law applies to



8
 Massachusetts “look[s] to [] established ‘functional’ choice of law principles and to the
Restatement (Second) of Conflict of Laws, with which those principles generally are in accord.”
Hodas v. Morin, 442 Mass. 544, 549 (2004) (citation omitted).

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Randall’s statutory claim.

       E.      Ally Was Required To Send A Post-Repossession Notice To Mr. Randall

       Ally asserts that post-repossession notices under UCC, § 9-614 are not required if the

vehicle has not yet sold by the lender. This position makes little sense and is foreclosed both by

the Williams decision and the plain text and purpose of the UCC’s notice provision.

       UCC, § 9-610 provides that, “[a]fter default, a secured party may sell, lease, license, or

otherwise dispose of any or all of the [consumer’s] collateral.” In turn, UCC, § 9-611, entitled

“Notification Before Disposition Of Collateral,” requires “reasonable authenticated notification

of disposition.” UCC §§ 9-613 and 9-614 dictate the content of the pre-sale notice. Finally, as the

SJC unequivocally held in Williams, “General Laws c. 106, § 9–614, requires that notice be

given to a debtor prior to the disposition of repossessed collateral.” 479 Mass. at 668 (emphasis

added). Given the plain text of the statute and the SJC’s binding ruling on this issue, that ends the

inquiry.

       The purpose of the notice provision “is to allow the debtor sufficient time to take

appropriate steps to protect his interests before the final disposition” and to prevent a sale of the

collateral “at less than its true value.” Caterpillar Fin. Servs. Corp. v. Wells, 651 A.2d 507, 520

(N.J. Super. Law Div. 1994) (emphasis added). A consumer cannot protect her interest “before

the final disposition” if she does not receive notice until after disposition.

       In support of its argument, Ally cites two cases. But, in each, the respective court found

that the lender had no responsibility to send a pre-sale notice because it released its lien before

the property was disposed of by a third party, meaning the UCC did not apply to the party. 9


9
  See Bremer Bank Nat. Ass’n v. Matejcek, 916 N.W.2d 688, 693, 696-97 (Minn. App. 2018)
(under UCC “[a] debtor’s rights include notice before disposition of collateral…” but defendant
bank had no such obligations under because the debtor, not the bank, transferred her interest in



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        Contrary to Ally’s contention, the UCC does not provide an exemption from sending a

pre-sale notice if a sale has not yet taken place. That is because the entire purpose of the notice

provision is to put the debtor on equal footing with the creditor with respect to understanding the

value of the debtor’s collateral, the effect of a disposition, and the calculation of any remaining

deficiency on the original loan prior to any disposition. This is crucial information in order for a

debtor to make an informed choice on whether to redeem or surrender his or her collateral. And,

as the SJC indicated in Williams, a notice containing this information is required before

disposition of the collateral.

V.      CONCLUSION

        For the foregoing reasons, the Defendant’s motion to dismiss should be denied in its

entirety.

Dated: July 29, 2019

                                                      Respectfully submitted,

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the motorhome; defendant bank only released its lien, it had not engaged in the process of
disposing of the collateral and thus the UCC’s provisions did not apply) (emphasis added);
Wallace v. Pinnacle Bank-Wyoming, 275 P.3d 1250, 1256 (Wyo. 2012) (UCC did not apply to
bank because it released lien before the debtor defaulted on the loan and the collateral was sold).

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                                CERTIFICATE OF SERVICE

        I, Elizabeth Ryan, hereby certify that today I caused to be served the within on counsel
for the defendant via ECF service.


                                                     /s/ Elizabeth Ryan




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